   Case 1:01-cv-12257-PBS Document 6705-18 Filed 11/25/09 Page 1 of 5




                     Exhibit J




    State of California ex rel. Ven A-Care of the Florida Keys, Inc. v.
          Abbott Labs, Inc. et al., Civil Action No. 03-11226-PBS

Exhibit to the November 25, 2009 Declaration of Christopher C. Palermo
     in Support of Mylan ' s Motion for Partial Summary Judgment
Case 1:01-cv-12257-PBS Document 6705-18 Filed 11/25/09 Page 2 of 5
Case 1:01-cv-12257-PBS Document 6705-18 Filed 11/25/09 Page 3 of 5
Case 1:01-cv-12257-PBS Document 6705-18 Filed 11/25/09 Page 4 of 5
Case 1:01-cv-12257-PBS Document 6705-18 Filed 11/25/09 Page 5 of 5
